Case: 1:22-cv-05506 Document #: 40-3 Filed: 03/30/23 Page 1 of 7 PageID #:3224




                          EXHIBIT 3
Case: 1:22-cv-05506 Document #: 40-3 Filed: 03/30/23 Page 2 of 7 PageID #:3225
                      Identified Overlapping Petitioners

    No.      First Name          Last Name         City              State
    1        David               Abbott            Mackinaw          IL
    2        Lisa                Adams             Bourbonnais       IL
    3        Vickie              Aiello            Ofallon           IL
    4        Joseph              Akers             Edwardsville      IL
    5        Sequoia             Alexander         Peoria            IL
    6        Brian               Allerding         Centralia         IL
    7        Lisa                Alvarado          Hobart            IL
    8        Miguel              Alvarez           Chicago           IL
    9        Anthony             Amaker            Zion              IL
    10       Andrea              Andersom          Chicago           IL
    11       Christina           Andes             Brookfield        IL
    12       Ashley              Armstead          Springfield       IL
    13       Rhonda              Artman            Freeport          IL
    14       Ashley              Atkinson-Leon     Buffalo Grove     IL
    15       Michael             Atkinson-Leon     Buffalo Grove     IL
    16       William             Avery             Grayslake         IL
    17       Anson               Babb              Downers Grove     IL
    18       David               Bailey            Hinsdale          IL
    19       Andrea              Banks             Chicago           IL
    20       Chandra             Barber            Chicago           IL
    21       David               Bassin            Chicago           IL
    22       Renae               Battista          Huntley           IL
    23       Martin              Bauer             Naperville        IL
    24       Heather             Baxter            Lindenwood        IL
    25       Catherine           Bayne             Bourbonnais       IL
    26       Felicia             Beals             Kankakee          IL
    27       Anthony             Beaver            Chicago           IL
    28       Francisco           Becerra           Aurora            IL
    29       Alice               Bell              Springfield       IL
    30       Christopher         Bell              Chicago           IL
    31       Daniel              Benke             Crystal Lake      IL
    32       Erasmo              Berrios           Downers Grove     IL
    33       El Malik            Bey               Posen             IL
    34       Eric                Biesecker         Peoria            IL
    35       Dana                Blanchard         Chicago           IL
    36       Karen               Bodie             Westmont          IL
    37       Brian               Boss              Granite City      IL
    38       Eric                Bowers            Carbondale        IL
    39       Stacey              Boyce             Aurora            IL
    40       Amy                 Brennan           Oak Lawn          IL
    41       Susan               Brewer            Chicago           IL
    42       Aarion              Brown             Hazel Crest       IL
    43       Anna                Burzawa           Harwood Heights   IL
    44       Michael             Butler            O'Fallon          IL
    45       Mitchell            Cain              Beecher           IL
    46       Jennifer            Carajohn          Morris            IL

                                   Page 1 of 6
Case: 1:22-cv-05506 Document #: 40-3 Filed: 03/30/23 Page 3 of 7 PageID #:3226
                     Identified Overlapping Petitioners

    No.      First Name         Last Name          City             State
    47       Bianca             Carbajal           Chicago          IL
    48       Brendan            Casey              Aurora           IL
    49       Natasha            Caudle             Towanda          IL
    50       Colene             Chastang           Evanston         IL
    51       Angelica           Chestleigh         Chicago          IL
    52       Wendy              Christman          West Chicago     IL
    53       Gordon             Clanton            Cave In Rock     IL
    54       Regina             Clark              Chicago          IL
    55       James              Clendening         Fox Lake         IL
    56       Alice              Coffey             Rantoul          IL
    57       Chiquita           Coffey             Chicago          IL
    58       Booker             Collins            Chicago          IL
    59       Danielle           Colon              Joliet           IL
    60       Susan              Cotter             Saint Joseph     IL
    61       Darryl             Cotton             Chicago          IL
    62       David              Cusack             Chicago          IL
    63       Bryant             Dailey             Crest Hill       IL
    64       Angel              Darville           Spring Grove     IL
    65       Darren             Davis              Westchester      IL
    66       John               Davis              Granite City     IL
    67       James              Dawson             Watanda          IL
    68       Amit               Desai              Bartlett         IL
    69       Jerry              Dillon             Palatine         IL
    70       Durbin             Downey             Princeton        IL
    71       Andrew             Durkin             Palos Heights    IL
    72       Darlene            Dyson              Chicago          IL
    73       Althea             Earl               Forest Park      IL
    74       Sara               Elliott            Aurora           IL
    75       Anthony            Euell              Freeport         IL
    76       Lisa               Farris             Joliet           IL
    77       Alberto            Felix              Cicero           IL
    78       Sean               Ferguson           Belleville       IL
    79       Barry              Filerman           Northbrook       IL
    80       Ryan               Finley             Woodstock        IL
    81       Jonathan           Fischer            Jacksonville     IL
    82       Zach               Fisher             Beecher          IL
    83       Erin               Fletcher           Chicago          IL
    84       Ernest             Fromer             Lombard          IL
    85       Tameika            Fuller             Bourbonnais      IL
    86       Martin             Garcia             Naperville       IL
    87       Patrick            Gaughan            Aurora           IL
    88       Bobbie Jo          Gear               Mt Caroll        IL
    89       Travis             Gipson             Chicago          IL
    90       Barbara            Goodwin            Calumat          IL
    91       Margaret           Gorski             Belvidere        IL
    92       Jon                Graskewicz         West Frankfort   IL

                                  Page 2 of 6
Case: 1:22-cv-05506 Document #: 40-3 Filed: 03/30/23 Page 4 of 7 PageID #:3227
                     Identified Overlapping Petitioners

    No.      First Name         Last Name          City                State
    93       Heather            Greenier           Westmont            IL
    94       Linda              Hackley            Cicero              IL
    95       Kimberly           Hagedorn           Lebanon             IL
    96       Lindsay            Haglauer           Decatur             IL
    97       Elizabeth          Haines             Saint David         IL
    98       Brandon            Hall               Glen Carbon         IL
    99       Cynthia            Hansen             Chicago             IL
    100      Michael            Harmon             Oswego              IL
    101      Beth               Harvey             Carmi               IL
    102      Ebanah             Hasanat            Orland Park         IL
    103      Beth               Helsley            Carbondale          IL
    104      Whitney            Henry              Chicago             IL
    105      Javier             Hernandez          Arlington Heights   IL
    106      Fatina             Hicks              Chicago             IL
    107      Katherine          Hicks              Bolingbrook         IL
    108      Fabian             Higgins            Evanston            IL
    109      Edna               Hill               Chicago             IL
    110      Hanon              Hines              Wadsworth           IL
    111      Alex               Hinote             O'Fallon            IL
    112      Casey              Hnatiuk            Montgomery          IL
    113      Karen              Hoffman            Du Bois             IL
    114      Eric               Hofmann            Aledo               IL
    115      Julie              Holda              Manteno             IL
    116      Andrea             Holloway           Homewood            IL
    117      Lacey              Howell             Rockford            IL
    118      Daniel             Hudson             South Holland       IL
    119      Tahisha            Hudson             Bellwood            IL
    120      Brad               Hughes             Machesney Park      IL
    121      Blaine             Huls               Danville            IL
    122      Bobbie             Hunter             Taylorville         IL
    123      Jane               Hutton             Worden              IL
    124      Kimberly           Ibarra             Oak Forest          IL
    125      Joyce              Isaacs             Carmi               IL
    126      Jeremy             Jacoby             South Elgin         IL
    127      Elizabeth          Jean               Bondville           IL
    128      Jennifer           Jeffris            Chicago             IL
    129      Amber              Jeralds            Marion              IL
    130      Charles            Johnson            Oak Park            IL
    131      Gary               Johnson            Chicago             IL
    132      Monica             Johnson            Rockford            IL
    133      Samuel             Johnson            Northlake           IL
    134      Tracey             Johnson            Rockford            IL
    135      Anna               Kacso              Antioch             IL
    136      Neelu Kaur         Kalada             Naperville          IL
    137      Angela             Kardell            Hainesville         IL
    138      Christina          Karpowicz          Downers Grove       IL

                                  Page 3 of 6
Case: 1:22-cv-05506 Document #: 40-3 Filed: 03/30/23 Page 5 of 7 PageID #:3228
                     Identified Overlapping Petitioners

    No.      First Name         Last Name          City             State
    139      Donna              Keca               Aurora           IL
    140      Antonina           Kessel             Chicago          IL
    141      Darcy              Kilka              Joliet           IL
    142      Brenda             King               Rushville        IL
    143      Alyssa             Kinnaird           Antioch          IL
    144      Lakaiya            Kippers            Alsip            IL
    145      Vivian             Knell              Hampshire        IL
    146      Christina          Koester            Beecher City     IL
    147      Carol              Koreba             Huntley          IL
    148      Ruth               Kotek              Naperville       IL
    149      Daniel             Kozubal            Algonquin        IL
    150      Adam               LaCour             Hazel Crest      IL
    151      Karen              LaFleur            Downers Grove    IL
    152      Ella               Lakin              White Hall       IL
    153      Dennis             Lang               Bloomingdale     IL
    154      Bryce              Langendorf         Rockford         IL
    155      Jaewon             Lee                Chicago          IL
    156      Jen                Leffler            Oak Forest       IL
    157      Brandi             Lewis              Urbana           IL
    158      Jason              Lewis              Belleville       IL
    159      Anthony            Locascio           Downers Grove    IL
    160      Eileen             Loechel            Oak Park         IL
    161      Chip               Loghry             Belleville       IL
    162      Denise             Long               Chicago          IL
    163      Alejandra          Lopez              Berwyn           IL
    164      Maria              Lopez              Chicago          IL
    165      Kelly              Lovett             Chicago          IL
    166      Jose               Lozano             Berwyn           IL
    167      Martha             Lucking            Batavia          IL
    168      Brian              Lunardon           Dixon            IL
    169      Charlene           Lyda               Bolingbrook      IL
    170      Michael            Marchetti          Chicago          IL
    171      Carolyn            Marmion            Pekin            IL
    172      Joshua             Maroon             Greenville       IL
    173      Richard            Martinez           Schaumburg       IL
    174      Tonya              Masek              Clifton          IL
    175      Malaika            Mayfield           Richton Park     IL
    176      Annie              Mcelligott         Chicago          IL
    177      Brian              Meadowcroft        Aurora           IL
    178      Angel              Meares             Harvey           IL
    179      Elliot             Mendelson          Berwyn           IL
    180      Michael            Mrozowski          Palatine         IL
    181      John               Muffley            El Paso          IL
    182      Michele            Musillami          Saint Charles    IL
    183      Daniel             Neniskis           Chicago          IL
    184      Mary               Nienaber           Winfield         IL

                                  Page 4 of 6
Case: 1:22-cv-05506 Document #: 40-3 Filed: 03/30/23 Page 6 of 7 PageID #:3229
                      Identified Overlapping Petitioners

    No.      First Name          Last Name         City             State
    185      Ndubuisi Vincent    Obah              Chicago          IL
    186      Ayelet              Palmore           Chicago          IL
    187      Bart                Papiez            Burbank          IL
    188      Ronald              Parilla           Oak Brook        IL
    189      Jason               Pemberton         Peoria           IL
    190      Julio               Puma              Chicago          IL
    191      Danny               Randleman         Pekin            IL
    192      Michael             Redwick           Chicago          IL
    193      Christina           Respass           Westchester      IL
    194      Anastasia           Sarantopoulos     Chicago Ridge    IL
    195      Rebecca             Schmakel          Downers Grove    IL
    196      Floyd               Scott Jr          Oakwood          IL
    197      Felicia             Solebo            Chicago          IL
    198      Danny               Stafford          Benton           IL
    199      Brandon             Stetzler          Mackinaw         IL
    200      Freddie             Terry             Chicago          IL
    201      Joel                Thomas            Chicago          IL
    202      Alphonso            Thomas Jr         Chicago          IL
    203      Bob                 Thompson          Effingham        IL
    204      Darbie              Thompson          Casey            IL
    205      Tina                Thompson          Belvidere        IL
    206      Rishu               Thukral           Chicago          IL
    207      Christopher         Toney             Rockford         IL
    208      Christina           Trejo             Crystal Lake     IL
    209      Paul                Trippett          Carol Stream     IL
    210      Frances             Troesch           Monee            IL
    211      Daphne              Turner            Chicago          IL
    212      Tuxford             Turner            Chicago          IL
    213      Eugene              Vandyke           Moline           IL
    214      Yolanda             Vazquez           Chicago          IL
    215      Carrie              Veile             Liberty          IL
    216      Edgar               Vera              Oaklawn          IL
    217      Charles             Walker            Chicago          IL
    218      Lashawn             Walker            Evergreen Park   IL
    219      Ethan               Walter            Wood River       IL
    220      Joshua              Wanland           Woodstock        IL
    221      Barb                Wasielewski       Spring Valley    IL
    222      Steven              Weglarz           Lombard          IL
    223      Diane               Weidner           Hawthorn Woods   IL
    224      Dave                Weigal            Mokena           IL
    225      Claudia             Weinberg          Chicago          IL
    226      Tricia              Wendt             Teutopolis       IL
    227      Bill                Whaley            Lake Villa       IL
    228      Sterling            White             Champaign        IL
    229      Erika               Whitehead         Chicago          IL
    230      Christopher         Williams          Hazel Crest      IL

                                  Page 5 of 6
Case: 1:22-cv-05506 Document #: 40-3 Filed: 03/30/23 Page 7 of 7 PageID #:3230
                     Identified Overlapping Petitioners

    No.      First Name         Last Name          City             State
    231      Dante              Williams           East Peoria      IL
    232      Katyna             Williams           Belleville       IL
    233      Wayne              Williams           Urbana           IL
    234      Leslie             Williamson         Chicago          IL
    235      Michelle           Wimmer             Elburn           IL
    236      Bart               Winkler            Antioch          IL
    237      Benjamin           Woolford           Centralia        IL
    238      Ann                Wright             Orland Park      IL
    239      Mark               Wright             Dunlap           IL
    240      Jack               Wu                 Chicago          IL
    241      Brian              Yarbrough          Peoria           IL




                                  Page 6 of 6
